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   There are many inquiries regarding Grand West Condos so we've briefly summarized the following
   questions and answers to help you better understand this Houston's new landmark hot-selJing
   condos.

   Where is the location of this Condo? Why is the unit price of Grand West Condos higher th an that of a house?
   Condo usually appears in areas with dense population, convenient transportation, and commercial supporting
  development. Also, not only the land is more expensive but the cost of multi-story buildings is also higher than
  that of ordinary single-family houses. Therefore, the cost of the new Condo is relatively higher than that of
  ordinary single-family houses . For example, based on the land size and area of Grand West Condos, about 8
  single-family houses can be built, which in turn means that a single building can be sold for more than$
  2,000,000!

  What is the difference between Condo and Apartment?

 They are all buildings with more than 3 floors . Generally speaking, the Apartment is owned by a group or an
 owner and is only used for renting. Condo is similar to Apartment except that it has a separate owner who owns
 his own unit. The exterior wall of the structure is shared by all the owners and managed by the cornmunity
 management committee (HOA). Generally, condos with more than 3 floors will provide elevators in the good
 areas, and, on the other hand, for apartments even with 3 floors, there's no elevator and the building of the
 Apartment does not offer some of the amenities that Condo does because it is cater for rental. Condo is
 equivalent to owning property rights, but the size of the land is calculated in proportion.

 Usually, the houses in large-scale comprehensive development commercial projects are mostly rental
 apartments, so that developers can maximize their profits! However, this Condo is the only mainstream
 development in this circle that comes with individual property rights . This is a rare opportunity!

 What kind of person is suitable for living in Condo?

  People who like simple life! You don't need to worry about mowing the yard or abollt the maintenance of the
 exterior structure of the house! You don't need to go around to find or compare insurance companies, take care
 of the construction or engineer or mowing of the property! There's no need to worry about whether their work
 is done well 1 Just focus on being with and on spending the time with your family! Due to the limited space, it is
 more suitable for young office workers, retirees, empty nesters, or holiday homes! The simple and high -quality
 living mode of Condos has recently become a trend' Grand West Condos is not only located in a large
 commercial area but also has two major universities, University of Houston and Hou5ton Community College's
 new campuses closely connected! Th is is also another great benefit!

 Is the Condo 's HOA Fee an additional burden?

  Of course not ! 1 The HOA Fee of Condos includes maintenance of exterior wall structures, insurance,
  maintenance of public lawns, maintenanr.e of public areas, and 11arbage disposal. In fact, whether it is an
  apartment or a detached house, ree;irdless of si7.e, there wi ll be basic m:iintenance costs . If you calculate the
 above expenses for your existing single-family house, property structure insurance, mowinc and front and back
 \f,Hd l;indscape maintenance, water fees, annual community management fees, and irregular rep;iirs, etc., the
monthly' total co~t of these is usually no\ less than ;:ibou\ $ 300, plus tlw ti111e rnst of arranginr, different people
lo deal with it. Condo's HOA project costs, unified 111,lllJflernent, unif,orrn outscurcing to S<~rvicc prnviders, ;ind
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  the cost is allocated to each owner! Save money and be worry free! Single-family houses can be
                                                                                                  pulation areas
  everywhere, and will always expand outwards, but Condos can only be located in high density/po
  with commercial developments w~ich makes it a rare find.
                                                                                                      areas
  The HOA Fee of Grand West Condos includes building structure insurance, maintenan ce of public
                                                                                               public areas, elevator
  (garbage, parking lot repair, carport maintenance, weeding), water and electricity costs for
  maintenance, and management expenses!
                                                                                          is synonymo us
  Why Grand West Condos is a new option for Chinese and Asian communit ies in Houston? It
  with simple and high quality living?
                                                                                                    as well as famous
 Because Katy Asian Town is within walking distance! You can go to H-Mart to buy fresh food,
                                                                                                   any  taste buds! In
 Asian -style restaurants, bakeries, etc., all with easy access and great Asian cuisine to satisfy
                                                                                                    safe atmosphe re !
 addition, the two new universities campuses will be your green backyard and it can also be a
                                                                                 1-10 or TX-99,  co to  university that
 You can easily go to JCPenny for shopping, access Houston's major highway
                                                                                                        entettainm ent
 offers elective courses, ;:ind take your family and friends to the upcoming Andretti Large indoor
                                                                                                       basic needs
 center to play. This location has so many advantages that it allows you to fully meet six of life's
                                                                                 more,  you'll be  able to enjoy even
 categories! Be worry free, save time and save money! As the area develops
                                                                                                        With its
 more amenities and business. This is a new option for a safe and simple Asian life in this circle!
                                                                                                        a Chinese-
 difference from the pure American style of ordinary high-end Condo products, this has become
 Western wall, and it has a more diversified advantage!


                                                                                              immediate ly.
 I like the location and living environme nt very much, but I can't move to Grand West Condos
 Can I rent it out for profit?
                                                                                                      Center t hat
 Grand West Condos will be the only residential unit in the business district of Katy's University
                                                                                                    you won't have it
 provides individual property rights . There are only 50 units and, if you miss this opportuni ty,
                                                                                                     services that cater
 .igain! So first come first served! You need to seize the opportunit y! RE/MAX United provides
                                                                             features . Through  overall  marketing of
 to customers' needs and will m.ike the best use of this project's biggest
                                                                                                    needs,  and close
 this complex with more than 300,000 daily traffic on 1-10 and TX-99 highways, walking to life
                                                                                                       United will help
 proximity to the energy corridor and the rapid developm ent of the Northwest District, RE/MAX
                                                                       rental that will not only allows  buyt>rs to save
 market and promote corporate housing and furnished short-term
 on new purchases first, but also maintain value and help make rental profits!




IYE / hli di 2 •d Chinatown Office:                              Phone: 3'16-998-S 000
Phone: 713-G30 -8000                                             /\ddrcss : 23119 Colonial Parkway Al, Katy TX n 4 ,-◄ 9
                                                                 E111<!il: josidintc;i11 1@r,111;iil. com
Address : 9889 Bellaire Blvd Ste J 18, Houst on TX
7703G
Fmail : iosiclinteam(ri)r.111 ail.rn111
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    GW                                          .- ------




     Homeowners Association                        School Information
     Grand West Residential                        Katy Independent School District (KISD)
     Condominium Association, Inc.                 http://www.katyisd.org/
     9889 Bellaire Blvd. #118                      6301 S. Stadium Lane
     Houston, TX 77036 Email:
                                                   Katy, TX 77494
     gwcondos.hoa@gmail.com
                                                   281.396.6000
     Tel: 346.998.8000


    Monthly HOA Due:                               Winborn Elementary School
        •   One Bed Room: $248.00 per month        Grades Pre-K thru 5
        •   Two Bed Room: $288.00 per month        22555 Prince George St.
                                                   Katy, TX 77449
    HOA Due Coverage:                              281.237.6650
       •    Building Structure Insurance
       •    Community Access Gate                 Morton Ranch Junior High
       •    Exterior Building Maintenance         Grades 6 thru 8
       •    Assigned Covered Parking              2498 N. Mason Road
       •    Elevator Maintenance                  Katy, TX 77449
       •    Interior Common Area Maintenance      281.237.7400
       •    Yard Maintenance
       •    Common Area Utilities                 Morton Ranch High School
       •    TrashFee                              Grades 9 thru 12
       •    HOA Management                        21000 Franz Road
                                                  Katy, TX 77449
    .Tax Information                              281 .237.7800
    Harris County Appraisal District (HCAD)
    www.hcad.org
    13013 Northwest Freeway                       Trash Pickup
    Houston, Texas 77040
                                                  Tuesdays and Fridays
    713.957.7800
    Tax Assessor/Collector: Ann Hanis Bennett

                                                  US Post Office
    Tax Rates                                     20180 Park Row Katy, TX 77449
    Approx. 3.24% per HCAD value                  281.829.5062
Overview of GWC Availability                                                                                                                                                    Grand West Condos                                           j
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                                                                                             South: (Front Door) 1·10
 Add: 1207 Grand West Blvd." Katy, TX 77449                                                                 * The above information is subject to change withou t further notice.
